Case 2:15-cv-01872-RWS-RSP Document 8 Filed 04/06/16 Page 1 of 2 PageID #: 77



                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                 Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §                 LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendants.                   §
___________________________________ §
                                    §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                 Case No: 2:15-cv-01872-JRG-RSP
                                    §
vs.                                 §                 CONSOLIDATED CASE
                                    §
THE PROCTER & GAMBLE COMPANY §
                                    §
      Defendants.                   §
___________________________________ §

                        ORDER OF DISMISSAL WITH PREJUDICE

       On this day, the Court considered Plaintiff Symbology Innovations, LLC’s motion to

dismiss with prejudice, in the lawsuit between Plaintiff Symbology Innovations, LLC

(“Symbology”) and Defendant The Procter & Gamble Company (“P&G”). Having considered

the Motion and the pleadings in this case, the Court is of the opinion that the Motion should be,

and is hereby GRANTED.

       Therefore, IT IS ORDERED that all claims asserted by Symbology against P&G and any

counterclaims or other claims that P&G may have are hereby DISMISSED WITH PREJUDICE,

with each party to bear its own costs, attorneys’ fees and other litigation expenses.
Case 2:15-cv-01872-RWS-RSP Document 8 Filed 04/06/16 Page 2 of 2 PageID #: 78



      SIGNED this 3rd day of January, 2012.
      SIGNED this 6th day of April, 2016.




                                              ____________________________________
                                              ROY S. PAYNE
                                              UNITED STATES MAGISTRATE JUDGE
